     Case 3:21-cv-00259-DCG-JES-JVB Document 776 Filed 05/07/24 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

LEAGUE OF UNITED LATIN                         §
AMERICAN CITIZENS, et al.,                     §
                                               §
                   Plaintiffs,                 §
                                               §
EDDIE BERNICE JOHNSON, et al.,                 §       EP-21-CV-00259-DCG-JES-JVB
                                                               [Lead Case]
                                               §
                   Plaintiff-Intervenors,      §
                                                                       &
v.                                             §
                                               §            All Consolidated Cases
GREG ABBOTT, in his official capacity as       §
Governor of the State of Texas, et al.,        §
                                               §
                   Defendants.                 §

        ORDER GRANTING MOTION TO FILE SUPPLEMENTAL COMPLAINT

        The Fair Maps Plaintiffs have moved for leave to file a Supplemental Complaint.1

Defendants do not oppose the Motion.2

        The Court therefore GRANTS the “Fair Maps Plaintiffs’ Unopposed Motion for Leave to

File a Supplemental Complaint” (ECF No. 774).

        The Clerk of Court SHALL DOCKET the “Fair Maps Plaintiffs’ Supplemental

Complaint for Declaratory and Injunctive Relief” (ECF No. 774-1) as a separate docket entry

with its own unique docket number.

        When docketing the Supplemental Complaint, the Clerk of Court SHALL OMIT the

cover page identifying the document as “Exhibit A.”




        1
            Mot., ECF No. 774.
        2
            See id. at 1, 7.


                                              -1-
  Case 3:21-cv-00259-DCG-JES-JVB Document 776 Filed 05/07/24 Page 2 of 2




      So ORDERED and SIGNED this 7th day of May 2024.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE

                                       And on behalf of:

Jerry E. Smith                                             Jeffrey V. Brown
United States Circuit Judge                   -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




                                             -2-
